923 F.2d 200
    287 U.S.App.D.C. 377
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.John F.S. DUDDEY, Appellant,v.Clarence THOMAS, Chairman Equal Employment Opportunity Commission.
    No. 90-5075.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 23, 1990.
    
      Before HARRY T. EDWARDS, RUTH BADER GINSBURG and HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of appellant's "Dispositive Motion", and appellee's motion for summary affirmance and opposition to motion for summary reversal, it is
    
    
      2
      ORDERED that the "Dispositive Motion" for summary reversal be denied.  It is
    
    
      3
      FURTHER ORDERED that the motion for summary affirmance be granted substantially for the reasons stated by the district court in its order filed March 6, 1990.  The merits of the parties' positions are so clear as to justify summary action.    See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);  Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    